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				DRAKE v. STATE ex rel. DEPT. OF PUBLIC SAFETY2015 OK CIV APP 42349 P.3d 559Case Number: 112917Decided: 12/10/2014Mandate Issued: 05/07/2015DIVISION IVTHE COURT OF CIVIL APPEALS OF THE STATE OF OKLAHOMA, DIVISION IV
Cite as: 2015 OK CIV APP 42, 349 P.3d 559

				

ARTHUR ERIC DRAKE, Plaintiff/Appellant,v.STATE OF 
OKLAHOMA, ex rel. DEPARTMENT OF PUBLIC SAFETY, Defendant/Appellee.

APPEAL FROM THE DISTRICT COURT OFMAYES COUNTY, OKLAHOMA
HONORABLE REBECCA J. GORE, TRIAL JUDGE

AFFIRMED

Charles A. Ramsey, CHARLES A. RAMSEY, PLLC, Pryor, Oklahoma, for 
Plaintiff/AppellantMark E. Bright, ASSISTANT GENERAL COUNSEL, DEPARTMENT OF 
PUBLIC SAFETY, Oklahoma City, Oklahoma, for Defendant/Appellee


DEBORAH B. BARNES, CHIEF JUDGE:
¶1 Plaintiff/Appellant Arthur Eric Drake (Licensee) appeals from an Order of 
the district court denying his petition to reinstate his driver's license filed 
more than one year after an order revoking his driver's license was issued by 
Defendant/Appellee State of Oklahoma, ex rel. Department of Public Safety (DPS). 
We affirm.
BACKGROUND
¶2 Licensee was arrested on May 20, 2012, for operating a vehicle while under 
the influence. Licensee did not consent to the state's implied consent test and 
timely requested an administrative hearing as to the suspension of his driver's 
license. A hearing was held on October 17, 2012.1 On October 19, 2012, DPS issued an 
order suspending Licensee's driver's license for a period of one year, from 
December 17, 2012, to December 17, 2013.2 On March 11, 2014, Licensee filed a petition to 
reinstate his driver's license in the district court.3
¶3 A hearing was held on April 23, 2014, concerning the Licensee's assertion 
that DPS lacked jurisdiction to revoke or suspend his driver's license and DPS's 
assertion that because Licensee did not timely appeal the revocation order, the 
district court lacked jurisdiction to consider the appeal. Licensee argued DPS 
was without jurisdiction to revoke or suspend his license because the arresting 
officer's affidavit that was submitted to DPS was "insufficient as a matter of 
law and did not grant DPS jurisdiction under" 47 O.S. 2011 §§ 753 &amp; 754.4 Licensee relied 
on Roulston v. State ex rel. Department of Public Safety, 2014 OK CIV APP 46, 324 P.3d 1261. Licensee argued the 
issue before the Roulston Court was whether the arresting officer's 
affidavit was sufficient and did not invoke DPS's jurisdiction.
&nbsp;
¶4 DPS argued that neither Roulston nor another case, Tucker v. 
State ex rel. Department of Public Safety, 2014 OK CIV APP 45, 326 P.3d 542, supported Licensee's 
jurisdiction argument because, in those cases, the appellate Court found the 
officer's affidavit was "fatally flawed" and Licensee only argues the affidavit 
in the present case is "facially defective." DPS argued the difference has to do 
with whether an order is "void or voidable." It also argued that in neither case 
did the appellate court decide jurisdiction.5
¶5 On May 7, 2014, the district court entered its Order in which it found 
Licensee failed to timely file an appeal from the October 19, 2012 order of 
suspension pursuant to 47 O.S. 2011 
§ 6-211(E), and therefore it was without jurisdiction to hear the appeal.6 The district 
court found that even if the affidavit was fatally defective because it did not 
contain the required statutory language, a timely appeal to invalidate the 
revocation was required by Roulston and Chase v. State ex rel. 
Department of Public Safety, 1990 
OK 78, 795 P.2d 1048, the 
Oklahoma Supreme Court decision upon which Roulston relied. The district 
court found the precedent fails to indicate that a fatally flawed affidavit 
raises a jurisdictional issue, though it raises an appealable issue upon a 
timely filing. Because Licensee failed to timely appeal, the district court 
found it was without jurisdiction to set aside the revocation order.
&nbsp;
¶6 Licensee appeals.
STANDARD OF REVIEW
¶7 The issue before us is whether the trial court correctly determined that 
it was without jurisdiction to hear Licensee's appeal of the DPS order revoking 
his driver's license because Licensee's appeal was untimely. The answer to that 
issue turns on whether DPS had jurisdiction to issue the order of revocation 
because of the alleged defect in the arresting officer's affidavit. Questions 
concerning jurisdiction present a question of law requiring a de novo 
standard of review. See, e.g., Guffey v. Ostonakulov, 2014 OK 6, ¶ 10, 321 P.3d 971. "In a de novo 
review," this Court has "plenary, independent and non-deferential authority to 
determine whether the trial court erred in its application of the law." 
Justus v. State ex rel. Dep't of Pub. Safety, 2002 OK 46, ¶ 3, 61 P.3d 888 (citation omitted).
ANALYSIS
¶8 In essence, Licensee argues the sworn affidavit of an arresting officer 
setting forth the statutory requirements set forth in 47 O.S. 2011 § 753 is a 
jurisdictional fact and a prerequisite to the authority of DPS to revoke a 
driver's license. Further, he argues, because the order is void for lack of 
jurisdiction, his failure to timely appeal is immaterial because a void judgment 
can be attacked at any time.
¶9 In Abraham v. Homer, 1924 OK 393, 226 P. 45, the Oklahoma Supreme 
Court set forth three separate elements of the jurisdiction of a court.

  
    Jurisdiction over the person, jurisdiction over the subject-matter, and 
    jurisdiction to render the particular judgment are three separate elements 
    of the jurisdiction of a court. Each element of jurisdiction is dependent 
    upon both law and fact. Facts showing the service of process in time, form 
    and manner sufficient to satisfy the requirements of mandatory statutes in 
    that regard are essential to jurisdiction over the person. Facts showing 
    that the matter involved in a suit constitutes a subject-matter consigned by 
    law to the jurisdiction of that court are essential to jurisdiction over the 
    subject-matter of the suit. Facts showing that a particular judgment is 
    rendered in compliance with all existing mandatory law in that regard are 
    essential to jurisdiction to render particular judgment. All such facts are 
    known as jurisdictional facts.
Id. ¶ 2 (subparagraph 5) (citations omitted).7 See also Parker v. 
Lynch, 1898 OK 76, ¶ 0, 56 P. 1082 ("Jurisdiction is the 
authority by which courts and judicial officers take cognizance of and decide 
cases.") (Syllabus by the Court); Robinson v. Okla. Emp't Sec. Comm'n, 1997 OK 5, ¶ 8, 932 P.2d 1120 (Discussing the 
difference between venue and jurisdiction the Supreme Court stated 
"'[j]urisdiction' is a term of comprehensive import. It concerns and defines the 
power of judicatories and courts.") (citation omitted).
¶10 By way of illustration, the Abraham Court discussed examples of 
jurisdictional facts within the context of probate proceedings.

  
    Applicable to the probate court we often find mandatory statutes which 
    provide that[,] though facts may be presented to the court with jurisdiction 
    over the person and the subject-matter, justifying the court to order real 
    estate of the deceased or of a minor to be sold, and although such an order 
    may have been lawfully made, it may be provided that such sale cannot be 
    confirmed unless the purchase price be equal to a given percentage of the 
    appraised value. In that event facts showing such appraisement in accordance 
    with the mandatory law relate rather to the power of the court to render a 
    judgment of confirmation than to a mere course of procedure, as the result 
    of the appraisement inheres in the judgment itself. Whenever by a statute 
    which the court has determined to be not merely directory, but absolutely 
    mandatory, the Legislature has required acts to be done and provides that 
    the court shall not render a particular judgment without facts showing 
    compliance with such statute, then such facts are jurisdictional to the 
    power of the court to render that particular 
judgment.
Id. ¶ 2 (subparagraph 8) (emphasis added).
¶11 The Supreme Court further stated that it is upon "making of proper 
distinction between quasi-jurisdictional facts and jurisdictional facts [that] 
often rests the determination of the validity of a judgment." Id. ¶ 2 
(subparagraph 10). The Court stated statutes that are merely directory - for 
example, those that "had in mind only an advisable manner of orderly 
advancement" in a lawsuit "and had not in mind the nature of the judgment to be 
rendered when the course was run" - are not to be considered "in determining the 
judicial power of the court to render a judgment." Id. ¶ 2 (subparagraph 
11). The Court further reasoned, as follows:

  
    On the other hand, if it appears that in the enactment of such statute 
    the lawmakers, while providing a step in the procedure, had uppermost in 
    mind the effect of such a step upon the judgment thereafter to be 
    rendered, and intended the taking of such step in the procedure as a 
    condition precedent to the existence of the judicial power of a court to 
    thereafter render the particular judgment, then such facts, while in a 
    sense being quasi jurisdictional, are clearly jurisdictional facts, 
    necessary to the existence of the third element of jurisdiction. Such 
    statute is a mandatory one.
Id. ¶ 2 (subparagraph 11) (emphasis added). The Court continued:

  
    A directory statute of procedure, such as is above considered, has no 
    direct relation to the substance of the adjudication to be made, while 
    compliance with the mandatory statute above illustrated reaches into the 
    power of the court to render the decree, and the result of such compliance 
    inheres in such decree as a material and substantial part of the judgment 
    itself. If by statute the lawmakers provide that notice shall be posted of 
    the time when a county court shall hear the petition of a guardian to sell 
    his ward's real estate, and the court has already acquired jurisdiction over 
    the person and subject-matter, and over the special proceedings there being 
    had, why, such statute has naught to do with the substance of the judgment 
    which the court will thereafter render and the statute is one of procedure 
    only. But where a statute requires that the land to be sold must be 
    appraised and that the court shall not confirm a sale thereof for less than 
    a given [percent] of the appraised value of the land, then such 
    appraisement, while being a step in the course of procedure, creates a 
    result that inheres in the material substance of the judgment. Facts showing 
    compliance with such mandatory statute are evidently intended by the 
    lawmakers as material to the existence of the power of the court to render 
    the judgment confirming the sale and are jurisdictional 
facts.
Id.
¶12 The Abraham Court cited Noble v. Union River Logging R. 
Co., 147 U.S. 165 (1893), wherein the United States Supreme Court 
also described facts that are quasi jurisdictional - that is, necessary to be 
proven in order for the court to act - and hence not subject to collateral 
attack:

  
    There is, however, another class of facts which are termed "quasi 
    jurisdictional," which are necessary to be alleged and proved in order to 
    set the machinery of the law in motion, but which, when properly 
    alleged, and established to the satisfaction of the court, cannot be 
    attacked collaterally. With respect to these facts, the finding of the court 
    is as conclusively presumed to be correct as its finding with respect to any 
    other matter in issue between the parties. Examples of these are the 
    allegations and proof of the requisite diversity of citizenship, or the 
    amount in controversy in a federal court, which, when found by such court, 
    cannot be questioned collaterally . . . . In this class of cases, if the 
    allegation be properly made, and the jurisdiction be found by the court, 
    such finding is conclusive and binding in every collateral proceeding; and, 
    even if the court be imposed upon by false testimony, its finding can only 
    be impeached in a proceeding instituted directly for that 
  purpose.
Id. at 173-74 (citations omitted) (emphasis added).
¶13 As to the sworn affidavit required by 47 O.S. § 753, the Oklahoma Supreme 
Court stated in Oklahoma Department of Public Safety v. Robinson, 1973 OK 80, 512 P.2d 128, the following:

  
    The sworn report required to be filed with the Oklahoma Commissioner of 
    Public Safety in conformance with 47 O.S. 1971 § 753 is the 
    catalyst in the initial revocation of a license by the commissioner. The 
    matters sworn to in the report are issues which are to be covered and proven 
    at the hearing, if a hearing is requested by licensee. The report merely 
    sets the wheels of administrative machinery in motion, and loses its 
    major significance at the time it is acted upon by the 
  commissioner.
Robinson, ¶ 37 (emphasis added).8
¶14 Robinson was cited in Application of Baggett, 1974 OK 95, 531 P.2d 1011, overruled on other 
grounds by Smith v. State ex rel. Dept. of Pub. Safety, 1984 OK 16, ¶ 6, 680 P.2d 365, wherein the Supreme 
Court stated, "The affidavit [at issue] was sufficient to support the 
initiation of the action to revoke the driver's license." Baggett, ¶ 
17 (emphasis added). It was this language from Baggett upon which the 
Court of Civil Appeals relied in Browning v. State ex rel. Department of 
Public Safety, 1991 OK CIV APP 
19, 812 P.2d 1372, when it 
stated that Baggett held "the affidavit invests DPS with 
jurisdiction to initiate proceedings to revoke a driver's license." ¶ 7, n.2 
(emphasis added). Neither Baggett nor Robinson, however, labeled 
the statements within the § 753 affidavit as jurisdictional facts, rather they 
described the matters contained within the affidavit as part of the "issues to 
be covered and proven at the hearing," should the licensee request such a 
hearing, and as setting "the wheels of administrative machinery in motion." That 
is, those cases describe the statements within the § 753 affidavit as 
quasi-jurisdictional facts, "necessary to set the judicial wheels in motion and 
to entitle the court to proceed with the exercise of admitted jurisdiction." 
Abraham, ¶ 0 (Syllabus by the Court).
¶15 The Supreme Court's more recent decision in Chase and the Court of 
Civil Appeal's decision in Roulston support the conclusion that the 
statements within the § 753 affidavit are quasi-jurisdictional facts and that a 
facially or fatally flawed affidavit is the basis for vacating an order of 
revocation, not through collateral attack, but rather through a timely appeal to 
the district court. In Chase, the Supreme Court stated the "[t]wo 
statutory prerequisites for DPS revocation of the" driver's license in the case 
before it concerned the written report of the driver's breath test, and, 
significant to the present appeal, "the enforcement officer's sworn report 'that 
he had reasonable grounds to believe the arrested person had been driving or was 
in actual physical control of a motor vehicle upon the public roads . . . while 
under the influence of alcohol.'" 1990 OK 78, ¶ 4. The Court referred 
to these items as "legislative standards for essential DPS paperwork," but did 
not refer to them as jurisdictional facts. In fact, referring to the absence of 
the arresting officer's signature on the affidavit, the Court stated, "This 
patent deficiency in the statutorily required DPS material does indeed make 
[DPS's] revocation order vulnerable to invalidation, on timely appeal, 
for failure to meet the minimum legislatively prescribed standards for the DPS 
paperwork on which its administrative action must be rested." Id. ¶ 5 
(footnote omitted) (emphasis added). The Court thus held "when, on appeal to the 
district court, the trial judge finds a DPS revocation order was issued on 
administrative documentation that fails to meet the minimum standards mandated 
by the applicable statute, the order should be set aside as fatally flawed." 
Id. ¶ 6 (footnote omitted).
¶16 Similarly, in Roulston, another division of this Court was 
concerned with the effect of what the licensee described as a "facially 
defective" and "fatally flawed" affidavit required by § 753. Unlike the actions 
of Licensee in the present case, in Roulston, the licensee timely 
appealed her revocation to the district court. Like the argument made by 
Licensee in the present case, the licensee in Roulston argued the 
affidavit was defective and fatally flawed because it failed to include the 
statutorily required report of the officer that he had reasonable grounds to 
believe the licensee had been driving a motor vehicle while under the influence 
of alcohol. Relying on the reasoning in Chase, the Court stated:

  
    Because the Officer's Affidavit did not include the sworn report as 
    required by statute as to the Officer's reasonable grounds to believe the 
    arrested person had been driving or was in actual physical control of a 
    motor vehicle while under the influence of alcohol, the evidence on 
    which the administrative revocation action rested is patently 
    deficient. Just as in Chase, we find the Affidavit upon which the 
    revocation order rests fatally flawed as a matter of law and thus, that 
    order was properly set aside by the trial court.
2014 OK CIV APP 46, ¶ 11 
(emphasis added). The Court did not state the DPS order was void for lack of 
jurisdiction; rather, it was deficient because of the absence of necessary 
evidence.
¶17 We conclude the statements in the § 753 affidavit are not jurisdictional 
facts, see Robinson, ¶ 37, but, in accord with the reasoning in 
Chase, further conclude their absence renders a DPS order of revocation 
subject to invalidation through a timely appeal to the district court. Because 
Licensee did not, however, timely appeal from the DPS order, the order of 
revocation is not subject to collateral attack. The trial court, therefore, 
properly concluded it was without jurisdiction to hear the appeal.
CONCLUSION
¶18 Although the sworn officer statements required by a § 753 affidavit are a 
prerequisite to DPS revocation of a driver's license, those statements are not 
jurisdictional facts the absence of which could subject a revocation order to 
collateral attack. Rather, their absence subjects the order of revocation to 
invalidation in a timely filed appeal to the district court. Because Licensee 
failed to timely appeal the revocation order, the district court correctly 
concluded it was without jurisdiction to hear the appeal. Accordingly, we 
affirm.

¶19 AFFIRMED.

GOODMAN, J., concurs, and WISEMAN, P.J., dissents.


WISEMAN, P.J., dissenting:
¶1 I dissent from the Majority's Opinion. I adopt the same position expressed 
in my dissents in Cases No. 112,503 and 112,564 regarding the jurisdictional 
infirmity in DPS' revocation order created by the facially deficient officer's 
affidavit, an infirmity which subjects the order to vacation by the trial court 
at any time.
¶2 I disagree with the Majority's view in the present case that the statutory 
mandate of the officer's affidavit of "reasonable grounds" to believe the driver 
had operated the vehicle under the influence of alcohol is 
"quasi-jurisdictional." As noted by the Majority, the Oklahoma Supreme Court in 
Abraham v. Homer, 1924 OK 
393, 226 P. 45, stated, 
"Facts showing the service of process, facts showing that the matter involved in 
a suit constitutes a subject-matter consigned by law to the jurisdiction of the 
court, and facts showing that a particular judgment is rendered in compliance 
with all existing mandatory law in that regard are known as jurisdictional 
facts." Id. ¶ 0 (syl. no. 1 by the Court). Further to the point, 
Abraham clearly holds:

  
    Whenever by a statute which the court has determined to be not merely 
    directory, but absolutely mandatory, the Legislature has required acts to be 
    done, and provides that the court shall not render a particular judgment 
    without the facts showing compliance with such statute, then such facts are 
    jurisdictional to the power of the court to render that particular 
    judgment.
Id. ¶ 2 (subparagraph 8).
¶3 Without both statutory prerequisites of (1) a blood or breath test report 
(47 O.S.2011 § 754(C)) or the 
driver's refusal of such a test (47 
O.S.2011 § 753), and (2) the officer's sworn report of "reasonable grounds" 
to believe the driver was driving under the influence, DPS lacked the power to 
suspend the driver's license. If blood or breath test results (or the driver's 
refusal of such tests) were lacking, would DPS have the power to revoke this 
license? My reading of these provisions leads to the conclusion that they are 
fundamental to DPS' power to act: "Facts showing compliance with such mandatory 
statute are evidently intended by the lawmakers as material to the existence of 
the power of the court to render the judgment . . . and are jurisdictional 
facts." Abraham, 1924 
OK 393, ¶ 2 (subparagraph 11).
¶4 Because the officer's affidavit here was, on its face, non-compliant with 
the clear statutory mandate, DPS lacked jurisdiction to order suspension, and 
such an order was subject to collateral attack at any time. See Ashikian v. 
State ex rel. Oklahoma Horse Racing Comm'n, 2008 OK 64, ¶ 10, 188 P.3d 148. The trial court's May 
7, 2014, order should be vacated and the case remanded to the trial court with 
directions to vacate DPS' order of suspension for lack of jurisdiction. I 
respectfully dissent.

FOOTNOTES

1 These 
facts surrounding the revocation of Licensee's driver's license are taken from 
the parties' appellate briefs. "Admissions in a brief may be regarded as a 
supplement to an appellate record." Woods v. Prestwick House, Inc., 2011 OK 9, ¶ 15 n.16, 247 P.3d 1183 (citations omitted). 
See also State ex rel. Macy v. Bd. of Cnty. Comm'rs, 1999 OK 53, ¶ 3 n.8, 986 P.2d 1130 ("Admissions made in 
the briefs may be considered as supplementing and curing an otherwise deficient 
appellate record.") (citations omitted).

2 The 
revocation order was presented to and reviewed by the trial judge but is not in 
the record on appeal.

3 
Licensee alleged that while the suspension time had run and his license was 
eligible to be reinstated, DPS was requiring him to pay certain reinstatement 
fees and to provide proof that an interlock device had been installed on his 
vehicle.

4 Section 
753 provides, in part, as follows:
If a conscious person under arrest refuses to submit to testing of his or her 
blood or breath for the purpose of determining the alcohol concentration 
thereof, or to a test of his or her blood, saliva or urine for the purpose of 
determining the presence or concentration of any other intoxicating substance, 
or the combined influence of alcohol and any other intoxicating substance, none 
shall be given, unless the investigating officer has probable cause to believe 
that the person under arrest, while intoxicated, has operated the motor vehicle 
in such a manner as to have caused the death or serious physical injury of any 
other person or persons. . . . The Commissioner of Public Safety, upon the 
receipt of a sworn report of the law enforcement officer that the officer had 
reasonable grounds to believe the arrested person had been driving or was in 
actual physical control of a motor vehicle upon the public roads, highways, 
streets, turnpikes or other public place of this state while under the influence 
of alcohol, any other intoxicating substance, or the combined influence of 
alcohol and any other intoxicating substance and that the person had refused to 
submit to the test or tests, shall revoke the license to drive and any 
nonresident operating privilege for a period as provided by Section 6-205.1 of 
this title. . . . The revocation or denial shall become effective thirty (30) 
days after the arrested person is given written notice thereof by the officer or 
by the Department as provided in Section 754 of this title.
Section 754(D) provides, in part, as follows:
Upon the written request of a person whose driving privilege has been revoked 
or denied by notice given in accordance with this section or Section 2-116 of 
this title, the Department shall grant the person an opportunity to be heard if 
the request is received by the Department within fifteen (15) days after the 
notice.

5 At the 
conclusion of the parties' arguments, the court asked counsel for DPS if he had 
the arresting officer's affidavit. Counsel for DPS replied he had the original 
but had not planned to introduce the affidavit because he thought the only 
relevant document was the order of revocation. The following exchange then 
occurred:
[Counsel for DPS]: . . . [B]ut I can make [the affidavit] an exhibit as well. 
Would you like me to do that?
THE COURT: Yes, please.
[Counsel for DPS]: Okay.
THE COURT: And I'm, assuming, [Counsel for Licensee], that is your argument, 
the affidavit is insufficient?
[Counsel for Licensee]: It is, Judge, yes.
Instead of using DPS's copy of the affidavit as an exhibit, the trial court 
asked to review the affidavit. The court then stated, "based upon the exhibits 
that I have . . . received as evidence and reviewed," among other things, that 
it did not have jurisdiction and was not overturning the revocation.
On appeal, DPS filed a motion to strike Licensee's Exhibit A, the arresting 
officer's affidavit, appended to his Brief-in-chief arguing the affidavit "was 
not admitted into evidence as an exhibit" and citing Oklahoma Supreme Court Rule 
1.11(e)(1) and (i), 12 O.S. 2011, ch. 5, app. 1. By order of the Oklahoma 
Supreme Court, the decision on the motion was deferred to the decisional 
stage.
The exhibit appended to the Brief-in-chief does not comply with Rule 
1.11(e)(1) and (i); consequently, despite the foregoing discussions and actions 
at trial, we grant DPS's motion to strike the exhibit from the appellate record. 
See also Chamberlin v. Chamberlin, 1986 OK 30, ¶ 4, 720 P.2d 721 ("This court may not 
consider as part of an appellate record any instrument or material which has not 
been incorporated into the assembled record by a certificate of the clerk of the 
trial court . . . ." (footnotes omitted). However, the trial court specifically 
found the affidavit was insufficient and "fatally defective" because it did not 
contain the required statutory language. That finding is part of the record on 
appeal.

6 Section 
6-211(E) provides, in part, as follows:
The petition shall be filed within thirty (30) days after the order has been 
served upon the person, except a petition relating to an implied consent 
revocation shall be filed within thirty (30) days after the Department gives 
notice to the person that the revocation is sustained as provided in Section 754 
of this title.

7 The 
Oklahoma Supreme Court also explained the significance and effect of 
jurisdictional facts and "quasi-jurisdictional facts":
Facts showing the service of process, facts showing that the matter involved 
in a suit constitutes a subject-matter consigned by law to the jurisdiction of 
the court, and facts showing that a particular judgment is rendered in 
compliance with all existing mandatory law in that regard are known as 
jurisdictional facts. . . .Facts which are not jurisdictional facts, and 
which do not constitute a part of the cause of action, but which are necessary 
to set the judicial wheels in motion and to entitle the court to proceed with 
the exercise of admitted jurisdiction, are known as quasi jurisdictional facts. 
When those facts are adjudicated by a court possessing the three necessary 
elements of jurisdiction, such adjudication, in the absence of fraud, is not 
open to collateral attack.. . . .It is not material to the jurisdiction 
of the court that a cause of action be either pleaded or proven. Although the 
facts stated in a petition be not merely insufficiently or defectively pleaded, 
but both in form and substance wholly fail to constitute a cause of action, the 
court is not solely by reason thereof deprived of jurisdiction over the 
subject-matter or of the jurisdiction to render a judgment granting such relief 
as otherwise it may be within the jurisdiction of the court to render.
Id. ¶ 0 (Syllabus by the Court).

8 Section 
753 has been amended several times since 1971; however, the operative language 
in the 1971 version is the same as in the current version. It states as 
follows:
the Oklahoma Commissioner of Public Safety, upon the receipt of a sworn 
report of the law enforcement officer that he had reasonable grounds to believe 
the arrested person had been driving or was in actual physical control of a 
motor vehicle upon the public highways while under the influence of alcohol or 
intoxicating liquor, and that the person had refused to submit to the test or 
tests, shall revoke his license to drive and any nonresident operating privilege 
for a period of six months . . . .
&nbsp;
&nbsp;





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Court of Civil Appeals Cases
&nbsp;CiteNameLevel

&nbsp;1991 OK CIV APP 19, 812 P.2d 1372, 62 OBJ        2458, Browning v. State ex rel. Dept. of Public SafetyDiscussed
&nbsp;2014 OK CIV APP 45, 326 P.3d 542, TUCKER v. STATE ex rel. DEPT. OF PUBLIC SAFETYDiscussed
&nbsp;2014 OK CIV APP 46, 324 P.3d 1261, ROULSTON v. STATE ex rel. DEPT. OF PUBLIC SAFETYDiscussed at Length
Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;1990 OK 78, 795 P.2d 1048, 61 OBJ        2091, Chase v. State ex rel. Dept. of Public SafetyDiscussed at Length
&nbsp;1997 OK 5, 932 P.2d 1120, 68 OBJ        303, Robinson v. Oklahoma Employment Sec. Com'nDiscussed
&nbsp;2002 OK 46, 61 P.3d 888, JUSTUS v. STATE EX. REL. DEPT. OF PUBLIC SAFETYDiscussed
&nbsp;1973 OK 80, 512 P.2d 128, OKLAHOMA DEPARTMENT OF PUBLIC SAFETY v. ROBINSONDiscussed
&nbsp;2008 OK 64, 188 P.3d 148, ASHIKIAN v. STATE ex rel. OKLAHOMA HORSE RACING COMM.Discussed
&nbsp;1924 OK 393, 226 P. 45, 102 Okla. 12, ABRAHAM v. HOMERDiscussed at Length
&nbsp;2011 OK 9, 247 P.3d 1183, WOODS v. PRESTWICK HOUSE, INC.Discussed
&nbsp;1974 OK 95, 531 P.2d 1011, APPLICATION OF BAGGETTDiscussed
&nbsp;2014 OK 6, 321 P.3d 971, GUFFEY v. OSTONAKULOVDiscussed
&nbsp;1999 OK 53, 986 P.2d 1130, 70 OBJ        1820, State ex rel. Macy v. Board of County CommissionersDiscussed
&nbsp;1898 OK 76, 56 P. 1082, 7 Okla. 631, PARKER v. LYNCHDiscussed
&nbsp;1984 OK 16, 680 P.2d 365, Smith v. State ex rel. Dept. of Public SafetyDiscussed
&nbsp;1986 OK 30, 720 P.2d 721, 57 OBJ        1415, Chamberlin v. ChamberlinDiscussed
Title 47. Motor Vehicles
&nbsp;CiteNameLevel

&nbsp;47 O.S. 6-211, Right of Appeal to CourtCited
&nbsp;47 O.S. 754, Surrender or Seizure of License - Receipt as Temporary License - Revocation or Denial of Driving Privilege - HearingCited
&nbsp;47 O.S. 753, Refusal to Submit to Test - Revocation of License - Reinstatement of LicenseDiscussed at Length


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
